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Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &            FOR COURT USE ONLY
Email Address

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      Respondent appearing without attorney
      Attorney for Respondent:
                                                   UNITED STATES BANKRUPTCY COURT
                                                    CENTRAL DISTRICT OF CALIFORNIA
In re:
                                                                                  CASE NO.: 8:18-bk-14049-ES
             Shar E. Kanamouie
                                                                                  CHAPTER: 7
             Rachel Kanamouie


                                                                                   RESPONSE TO MOTION REGARDING THE
                                                                                  AUTOMATIC STAY AND DECLARATION(S) IN
                                                                                               SUPPORT

                                                                                  DATE: 1/24/2019
                                                                                  TIME: 10:00 am
                                                                                  COURTROOM: 5A
                                                                                  PLACE: 411 W. Fourth Street, Ste. 5041
                                                                                          Santa Ana, CA 92701




                                                                 Debtor(s).
Movant:                    WELLS FARGO BANK N.A.


Respondent:               Debtor           trustee           other:

     NOTE REGARDING FILING AND SERVICE OF RESPONSE, EXHIBITS AND DECLARATIONS:
           A copy of the Response, exhibit(s) and declaration(s) must be served upon:
           (1) Movant’s attorney (or Movant, if Movant does not have an attorney);
           (2) the trustee; and
           (3) the judge who presides over this bankruptcy case.
           Then the document must be filed with the court.

1.       NONOPPOSITION

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     The Respondent does not oppose the granting of the Motion.

2.     LIMITED OPPOSITION
     a.   Respondent opposes the Motion only to the extent that it seeks immediate relief from stay. Respondent requests
          that no lock out, foreclosure, or repossession take place before (date):       and the reason for this request is
          (specify):
     b. As set forth in the attached declaration of the Respondent or the Debtor, the motion is opposed only to the extent
          that it seeks a specific finding that the Debtor was involved in a scheme to hinder, delay or defraud creditors.

             The Debtor:
             (1)  has no knowledge of the Property.
             (2)  has no interest in the Property.
             (3)  has no actual possession of the Property.
             (4)  was not involved in the transfer of the Property.

     c.      Respondent opposes the Motion and will request a continuance of the hearing since there is an application for a
             loan modification under consideration at this time. Evidence of a pending loan modification is attached as
             Exhibit      .

3.        OPPOSITION The Respondent opposes granting of the Motion for the reasons set forth below.

     a.     The Motion was not properly served (specify):

             (1)    Not all of the required parties were served.
             (2)    There was insufficient notice of the hearing.
             (3)    An incorrect address for service of the Motion was used for (specify):

     b.     Respondent disputes the allegations/evidence contained in the Motion and contends as follows:
            (1)   The value of the Property is $         , based upon (specify):
            (2)   Total amount of debt (loans) on the Property is $         .
            (3)   More payments have been made to Movant than the Motion accounts for. True and correct copies of
                 canceled checks proving the payments that have been made are attached as Exhibit                .
            (4)   There is a loan modification agreement in effect that lowered the amount of the monthly payments. A true
                 and correct copy of the loan modification agreement is attached as Exhibit            .
            (5)   The Property is necessary for an effective reorganization. Respondent filed or intends to file a plan of
                 reorganization that requires use of the Property. A true and correct copy of the plan is attached as
                 Exhibit       .
            (6)   The Property is fully provided for in the chapter 13 plan and all postpetition plan payments are current. A true
                 and correct copy of the chapter 13 plan is attached as Exhibit           and proof that the plan payments are
                 current through the chapter 13 trustee is attached as Exhibit          .
            (7)   The Property is insured. Evidence of current insurance is attached as Exhibit           .
            (8)   Movant’s description of the status of the unlawful detainer proceeding is not accurate.
            (9)   Respondent denies that this bankruptcy case was filed in bad faith.
            (10)   The Debtor will be prejudiced if the Nonbankruptcy Action is allowed to continue the nonbankruptcy forum.
            (11)   Other (specify):

     c.     Respondent asserts the following as shown in the declaration(s) filed with this Response:

             (1)    The bankruptcy case was converted from chapter             to chapter         .
             (2)    All postpetition arrearages will be cured by the hearing date on this motion.
             (3)    The Property is fully provided for in the chapter 13 plan and all postpetition plan payments    are current, or
                       will be cured by the hearing date on this motion.
             (4)    The Debtor has equity in the Property in the amount of $           .
             (5)    Movant has an equity cushion of $           or      % which is sufficient to provide adequate protection.
             (6)    The Property is necessary for an effective reorganization because (specify):
             (7)    The motion should be denied because (specify): Refer to Declaration of Respondent
             (8)    An optional memorandum of points and authorities is attached in support of this Response.


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4. EVIDENCE TO AUTHENTICATE EXHIBITS AND TO SUPPORT FACTS INSERTED IN THE RESPONSE:

  Attached are the following documents in support of this Response:

      Declaration by the Debtor                                  Declaration by the Debtor’s attorney
      Declaration by trustee                                     Declaration by trustee’s attorney
      Declaration by appraiser                                   Other (specify):

Date:        01/08/2019                                        ARYA LAW CENTER
                                                             Printed name of law firm for Respondent (if applicable)

                                                              Majid Safaie
                                                             Printed name of individual Respondent or attorney for Respondent


                                                             Signature of individual Respondent or attorney for Respondent




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